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 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8                                NORTHERN DISTRICT OF CALIFORNIA

 9                                               )
                                                         Civil Action No. 3:19-cv-0807-RS
                                                 )
10                                               )       AMICUS CURIAE BRIEF OF
      Innovation Law Lab, et al.,                )       IMMIGRATION REFORM LAW
11                                               )
              Plaintiffs,                                INSTITUTE IN SUPPORT OF
                                                 )       FEDERAL DEFENDANTS IN
12
                      v.                         )       OPPOSITION TO INTERIM RELIEF
13                                               )
      Kirstjen Nielsen, et al.,                  )       NO HEARING NOTICED
14            Defendants.                        )
                                                 )       Complaint filed: February 14, 2019
15                                               )       Honorable Richard Seeborg
                                                 )
16    _________________________________
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                           MEMORANDUM OF POINTS AND AUTHORITIES
 1
              Several aliens seeking admission into the United States (the “Alien Plaintiffs”) and
 2

 3   entities concerned about immigration issues (the “Institutional Plaintiffs”) have sued various

 4   federal officials and offices (the “Government”) to enjoin the Government’s policy entitled the

 5   Migrant Protection Protocol, AR 1-19, 2271-79 (“MPP”), under the Immigration and
 6   Naturalization Act, 8 U.S.C. §§1101-1537 (“INA”) and Administrative Procedure Act, 5 U.S.C.
 7
     §§551-706 (“APA”).
 8
                                        STATEMENT OF ISSUES
 9
              The issues presented are this Court’s Article III and statutory jurisdiction to hear
10
     Plaintiffs’ claims and Plaintiffs’ entitlement to interim relief (i.e., plaintiffs’ likelihood of
11

12   prevailing, irreparable harm, the balance of equities, and the public interest).

13                         IDENTITY AND INTEREST OF AMICUS CURIAE

14            Amicus curiae Immigration Law Reform Institute (“IRLI”) is a nonprofit 501(c)(3)

15   public-interest law firm incorporated in the District of Columbia. IRLI is dedicated to litigating
16   immigration-related cases on behalf of, and in the interests of, United States citizens and legal
17
     permanent residents and to assisting courts in understanding and accurately applying federal
18
     immigration law. IRLI has litigated or filed amicus briefs in many important immigration cases.
19
     For more than twenty years, the Board of Immigration Appeals has solicited amicus briefs drafted
20

21   by IRLI staff from IRLI’s affiliate, the Federation for American Immigration Reform, because

22   the Board considers IRLI an expert in immigration law. For these reasons, IRLI has direct

23   interests in the issues here.

24                                       STATEMENT OF FACTS
25            IRLI adopts the facts as stated by the Government. Gov’t Memo. at 1-6 (ECF #42).
26

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                                                    ARGUMENT
 1
              To establish an entitlement to interim relief, plaintiffs must show a likelihood of
 2

 3   prevailing and irreparable harm, as well as that the balance of equities and the public interest

 4   favor the plaintiff. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).

 5   Before reaching that issue, however, a federal court first must establish its jurisdiction. Steel Co.
 6   v. Citizens for a Better Env’t., 523 U.S. 83, 95 (1998); City of Los Angeles v. Lyons, 461 U.S. 95,
 7
     103 (1983) (plaintiff must establish standing to obtain interim relief.). Alternatively, a court could
 8
     view the jurisdictional issues as relating to a plaintiff’s likelihood of prevailing.
 9
     I.       THIS COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS.
10
              Because Plaintiffs lack standing and the United States has not waived sovereign immunity
11

12   for this type of action, the Court lacks jurisdiction to hear this case. Although the result that IRLI

13   supports differs from the results reached in Ninth Circuit precedents, IRLI respectfully submits

14   that IRLI offers rationales that those courts did not consider. Although mutual collateral estoppel
15   is available against the government, Montana v. United States, 440 U.S. 147, 153 (1979), non-
16
     mutual estoppel is not. United States v. Mendoza, 464 U.S. 154, 162-63 (1984). Moreover, even
17
     stare decisis can be applied so conclusively as to violate due process. S. Cent. Bell Tel. Co. v.
18
     Alabama, 526 U.S. 160, 167-68 (1999). Thus, if a prior precedent did not consider an issue, that
19
     precedent also did not decide the issue:
20

21                         Questions which merely lurk in the record, neither brought to the
                           attention of the court nor ruled upon, are not to be considered as
22                         having been so decided as to constitute precedents.

23   Cooper Indus., Inc. v. Aviall Serv., Inc., 543 U.S. 157, 170 (2004) (interior quotations omitted);

24   Waters v. Churchill, 511 U.S. 661, 678 (1994) (“cases cannot be read as foreclosing an argument
25
     that they never dealt with”). Notwithstanding the results in decisions like East Bay Sanctuary
26

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     Covenant v. Trump, 909 F.3d 1219, 1249 (9th Cir. 2018), therefore, this Court must evaluate
 1

 2   standing afresh.

 3            A.           The Individual Plaintiffs lack standing for the relief they seek.

 4            The Supreme Court has made it clear that “an alien seeking initial admission to the United

 5   States requests a privilege and has no constitutional rights regarding his application.” Landon v.
 6   Plasencia, 459 U.S. 21, 32 (1982). Excluding an alien seeking admission is an act of sovereignty.
 7
     Id. Accordingly, “[w]hatever the procedure authorized by Congress is, it is due process as far as
 8
     an alien denied entry is concerned.” Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206,
 9
     212 (1953) (interior quotation marks omitted). Here, the INA (i.e., the procedure authorized by
10
     Congress”) provides for the very injury that the Individual Plaintiffs seek to avoid.
11

12            B.           The Institutional Plaintiffs cannot premise standing on diverted resources.

13            Notwithstanding the Ninth Circuit’s decision in East Bay Sanctuary Covenant, the

14   Institutional Plaintiffs cannot premise standing on their diverted resources, which are self-
15   inflicted injuries and, thus, cannot support standing. Clapper v. Amnesty Int’l USA, 568 U.S. 398,
16
     418 (2013); Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976). Under the unique statutory
17
     and factual situation in Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), a housing-rights
18
     organization’s diverted resources provided it standing, but that argument must fail in most other
19
     settings.
20

21            Relying on Gladstone, Realtors v. Bellwood, 441 U.S. 91, 102-09 (1979), Havens Realty

22   held that the Fair Housing Act at issue there extends “standing under § 812 … to the full limits

23   of Art. III,” so that “courts accordingly lack the authority to create prudential barriers to standing
24   in suits brought under that section,” 455 U.S. at 372, thereby collapsing the standing inquiry into
25
     the question of whether the alleged injuries met the Article III minimum of injury in fact. Id. The
26

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     typical organizational plaintiff and typical statute lack several critical criteria from Havens
 1

 2   Realty.

 3             First, the Havens Realty organization had a statutory right (backed by a statutory cause

 4   of action) to truthful information that the defendants denied to it. Because “Congress may create
 5   a statutory right[,] … the alleged deprivation of [such rights] can confer standing.” Warth v.
 6
     Seldin, 422 U.S. 490, 514 (1975). Under a typical statute, by contrast, a typical organizational
 7
     plaintiff has no claim to any rights related to its own voluntarily diverted resources.
 8
               Second, and related to the first issue, the injury that an organizational plaintiff claims
 9
     must align with the other components of its standing, Vt. Agency of Nat. Res. v. United States ex
10

11   rel. Stevens, 529 U.S. 765, 772 (2000); Mountain States Legal Found. v. Glickman, 92 F.3d 1228,

12   1232 (D.C. Cir. 1996), including the allegedly cognizable right. In Havens Realty, the statutorily

13   protected right to truthful housing information aligned with the alleged injury (costs to counteract
14   false information given in violation of the statute). By contrast, under the INA (or any typical
15
     statute), there will be no rights even remotely related to – much less aligned with – a third-party
16
     organization’s discretionary spending.
17
               Third, and most critically, the Havens Realty statute eliminated prudential standing, so
18
     the zone-of-interest test did not apply. When a plaintiff — whether individual or
19

20   organizational — sues under a statute that does not eliminate prudential standing, that plaintiff

21   cannot bypass the zone-of-interest test or other prudential limits on standing. Typically, it would

22   be fanciful to suggest that a statute has private, third-party spending in its zone of interests.
23   Certainly, that is the case for the INA.1
24

25   1
            East Bay Sanctuary Covenant found the entities’ diverted-funding injuries within the
     INA’s and §1158’s zone of interests because various INA provisions recognize the right to counsel,
26
     including pro bono counsel. 909 F.3d at 1244-45. But the challenged agency action here does not
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              C.           The Institutional Plaintiffs’ lost funding from California does not provide
 1                         standing.
 2
              The Ninth Circuit also considered it relevant that the institutional plaintiffs there received
 3
     funding from the State of California that depended in part on the volume of refugees processed,
 4
     which provided the institutional plaintiffs standing to challenge any threat to their funding
 5
     stream. East Bay Sanctuary Covenant, 909 F.3d at 1243. The bounty or wager that third parties
 6

 7   put on an entity’s serving asylum-seeking aliens cannot establish standing to sue the federal

 8   government over federal immigration policy:

 9                         There is no doubt, of course, that as to this portion of the recovery —
                           the bounty he will receive if the suit is successful — a qui tam relator
10                         has a concrete private interest in the outcome of the suit. But the
                           same might be said of someone who has placed a wager upon the
11
                           outcome. An interest unrelated to injury in fact is insufficient to give
12                         a plaintiff standing.

13   Stevens, 529 U.S. at 772 (interior quotation marks, alterations, and citations omitted). Just like

14   the bounty or hypothetical wager in Stevens, an interest in third-party funding here is
15   insufficiently related the Institutional Plaintiffs’ asserted injury from the Government’s actions.
16
     California cannot create standing against the federal government merely by subsidy.2
17

18

19
     impose any burden on the right of counsel, and the Institutional Plaintiffs’ diverted-resource
20   injuries do not relate in any legal way to aliens’ right to counsel.
21   2
             To be sure, Stevens found standing for qui tam relators, albeit not based on the bounty per
22   se; instead, Stevens found the United States to have assigned a portion of its Article III claim to
     the private qui tam relator and premised the relator’s standing on that assignment of rights. See
23   Sprint Communs. Co., L.P. v. APCC Servs., 554 U.S. 269, 285 (2008) (discussing assignee
     standing under Stevens). California has done nothing of the kind here, but even if California wanted
24   to do so, California lacks an Article III claim against the federal government to assign here. Alfred
     L. Snapp & Son v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16 (1982). Consequently,
25   California’s payments to the Institutional Plaintiffs are no more consequential here than the
26   hypothetical wager in Stevens.

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              D.           The United States has not waived sovereign immunity for this action.
 1
              APA review should be unavailable for these removal issues because the INA channels
 2

 3   judicial review to the affected aliens’ removal proceedings. See 8 U.S.C. §1252(g); Gov’t Memo.

 4   at 8-9. The APA excludes review for “statutes [that] preclude judicial review” and ones with

 5   “special statutory review.” 5 U.S.C. §§701(a)(1), 703. When a statute provides special statutory
 6   review, APA review is unavailable. FCC v. ITT World Commc’ns, Inc., 466 U.S. 463, 469 (1984).
 7
     Only when preclusion-of-review statutes provide no opportunity whatsoever for review does the
 8
     Court rely on its equitable authority to provide review. Leedom v. Kyne, 358 U.S. 184, 188-90
 9
     (1958). That extraordinary relief is not available where — as here — review is available in
10
     enforcement proceedings. Board of Governors of the Federal Reserve System v. MCorp
11

12   Financial, 502 U.S. 32, 43-44 (1991). The INA’s special statutory review displaces APA review.

13   II.      PLAINTIFFS ARE UNLIKELY TO PREVAIL ON THE MERITS.

14            The most important factor for granting or denying interim relief is the movant’s likelihood
15   of prevailing on the merits. Here, Plaintiffs are unlikely to prevail on any of their claims.
16
              A.           The MPP is consistent with the INA.
17
              Plaintiffs argue that the MPP cannot apply to the Individual Plaintiffs because they are
18
     eligible for expedited removal under 8 U.S.C. §1225(b)(1), and the Government’s authority to
19
     send aliens back to Mexico under 8 U.S.C. §1225(b)(2)(C) does not apply to “an alien … to
20

21   whom [§1225(b)(1)] applies.” See 8 U.S.C. §1225(b)(2)(B)(ii). The Government counters that it

22   has prosecutorial discretion under §1225(b)(1) not to apply expedited removal against any

23   particular alien, such that that alien would not be one to whom §1225(b)(1) is applied. While it

24   accepts the Government’s distinction, amicus IRLI respectfully submits that the dispute may be
25
     easier to resolve than the parties suggest.
26

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              As indicated, the Government’s authority to return an alien to Mexico resides in
 1

 2   §1225(b)(2)(C), and it applies to “an alien described in subparagraph [§1225(b)(2)(A)].” 8

 3   U.S.C. §1225(b)(2)(C) (emphasis added). In turn, §1225(b)(2)(A) describes the following type

 4   of alien: “an alien seeking admission [who] is not clearly and beyond a doubt entitled to be
 5   admitted.” 8 U.S.C. §1225(b)(2)(A). The actionable part of §1225(b)(2)(A) provides that “the
 6
     alien shall be detained for a proceeding under [§1229a],” id., qualified as being “[s]ubject to
 7
     subparagraphs [§1225(b)(2)(B)] and [§1225(b)(2)(C)].” Id. But the qualifier alters the aliens
 8
     “detained for a proceeding under [§1229a],” id., not the “alien[s] described in subparagraph
 9
     [§1225(b)(2)(A)].” 8 U.S.C. §1225(b)(2)(C) (emphasis added). Significantly, Congress choose
10

11   two different verbs – “applies” and “apply” in §1225(b)(2)(B) and “described” in

12   §1225(b)(2)(C) – which suggests that the words have different meanings. SEC v. McCarthy, 322

13   F.3d 650, 656 (9th Cir. 2003) (“different words appearing in the same statute are presumed to
14   have different meanings”). This is, Congress purposely choose not to say “an alien to whom
15
     subparagraph (A) applies,” which would have incorporated the exceptions in §1225(b)(2)(B).
16
     Nothing in the way that Congress framed §1225(b)(2)(A) suggests that the two caveats –
17
     §1225(b)(2)(B) and §1225(b)(2)(C) – could not work independently, such that §1225(b)(2)(B)’s
18
     exceptions do not limit the independent authority provided in §1225(b)(2)(C) for the type of alien
19

20   described in §1225(b)(2)(A). The Individual Plaintiffs are that type of alien – namely, ones “not

21   clearly and beyond a doubt entitled to be admitted” – whether they are processed in expedited or

22   normal removal proceedings.
23            B.           The MPP is consistent with the non-refoulment obligations.
24
              As the Government explains, Plaintiffs’ arguments based on international-law obligations
25
     must fail: “‘where a controlling executive or legislative act … exist[s], customary international
26

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     law is inapplicable.’” Gov’t Memo. at 14-15 (quoting Galo-Garcia v. I.N.S., 86 F.3d 916, 918
 1

 2   (9th Cir. 1996)). Moreover, whatever conditions prompted the non-Mexican Individual Plaintiffs

 3   to leave their country, those conditions do not necessarily apply throughout Mexico, especially

 4   in the areas where they would await processing of their applications for asylum.3
 5            C.           The MPP satisfies the APA’s requirement for reasoned decisionmaking.
 6            Plaintiffs also argue that the MPP fails to qualify as reasoned decisionmaking under the
 7
     APA arbitrary-and-capricious standard because the MPP is not rationally related to its proffered
 8
     justifications and instead relies of false premises. Pls.’ Memo. at 16-19. This mode of judicial
 9
     review is quite narrow:
10
                           The scope of review under the arbitrary and capricious standard is
11
                           narrow. A court is not to ask whether a regulatory decision is the
12                         best one possible or even whether it is better than the alternatives.

13   FERC v. Elec. Power Supply Ass'n, 136 S.Ct. 760, 782 (2016) (internal quotations, alterations,

14   and citations omitted). An agency action meets this narrow review if “the agency … examined
15   the relevant considerations and articulated a satisfactory explanation for its action.” Id. Here, the
16
     MPP will not only aid legitimate asylum seekers in the long run but also address the crisis at the
17
     southern border. Although Plaintiffs – individually and through their clients – may represent
18
     exclusively those with sterling asylum claims, the fact remains that even Plaintiffs admit that
19
     considerably fewer than half of asylum seekers have valid claims. Pls.’ Memo. at 19 (25%); cf.
20

21   Gov’t Memo. at 20 (17%). Too many would-be asylum seekers crowd the border – creating

22   delays for all asylum seekers – in the hope that they will be paroled into the interior, then skip an

23

24
     3
            The need for a “credible threat” of harm in Mexico after relocated under the INA also
25   provides a barrier to the Individual Plaintiffs’ standing. Babbitt v. United Farm Workers Nat’l
26   Union, 442 U.S. 289, 298 (1979).

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     immigration hearing. The MPP seeks to end that sort of opportunistic “gaming” of the asylum
 1

 2   system, which ultimately will improve the asylum process for bona fide asylum seekers. While

 3   this might not be the choice that Plaintiffs or even this Court would make, that is not the test.

 4            D.           The MPP satisfied the APA’s procedural requirements.
 5            The APA exempts general statements of policy and interpretive rules from notice-and-
 6   comment rulemaking. 5 U.S.C. §553(b)(A). Although Plaintiffs suggest otherwise, Pls.’ Memo.
 7
     at 15 (ECF #20-1), the question of whether a rule is “legislative” (i.e., of the type that requires
 8
     notice-and-comment rulemaking) does not depend on the number of interested parties. Plaintiffs
 9
     also argue that the MPP amends existing legislative rules on non-refoulement, which is flawed
10
     for the same reasons as Plaintiffs’ refoulement claims. See Section II.B, supra. In any event, as
11

12   the Government argues the MPP does not amend existing regulations. See Gov’t Memo. at 21.4

13   III.     THE OTHER STAY FACTORS COUNSEL FOR DENYING INTERIM RELIEF.

14            Although the unlikelihood that Plaintiffs will prevail is enough to deny interim relief, the
15   other three Winter factors also counsel against interim relief.
16
              A.           Plaintiffs will not suffer irreparable harm.
17
              Injuries that qualify as sufficiently immediate under Article III can nonetheless fail to
18
     qualify under the higher bar for irreparable harm. Monsanto Co. v. Geertson Seed Farms, 561
19
     U.S. 139, 149-50, 162 (2010). This is especially true for self-inflicted injuries like diverted
20

21   resources. Second City Music, Inc. v. City of Chicago, 333 F.3d 846, 850 (7th Cir. 2003) (“self-

22

23
     4
             Plaintiffs argue that the Government previously published plans to undergo notice-and-
24   comment in this area, Pls.’ Memo. at 14. Obviously, the Government decided to proceed by issuing
     a guidance document instead of undergoing a rulemaking. Plaintiffs cannot estop the Government
25   to carry out its prior plans. Office of Personnel Mgmt. v. Richmond, 496 U.S. 414, 419-20 (1990)
26   (“equitable estoppel will not lie against the Government”).

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     inflicted wounds are not irreparable injury”); Novartis Consumer Health, Inc. v. Johnson &
 1

 2   Johnson-Merck Consumer Pharm. Co., 290 F.3d 578, 596 (3d Cir. 2002) (“injury … may be

 3   discounted by the fact that [a party] brought that injury upon itself”); Davis v. Mineta, 302 F.3d

 4   1104, 1116 (10th Cir. 2002). As explained, Plaintiffs lack standing, see Sections I.A-I.C, supra,
 5   so they lack irreparable harm as well. But even if Plaintiffs have standing, irreparable harm
 6
     requires more than Article III standing. It certainly does not allow less.
 7
              B.           The balance of equities favors the Government.
 8
              The balance of equities tips in the Government’s favor for two reasons. First, the
 9
     Government’s advantage on the substantive merits tips the equities in its favor. See Section II,
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     supra. Second, Plaintiffs’ tenuous interest — if even cognizable, see Sections I, supra —
11

12   undercuts their ability to assert a countervailing form of irreparable harm. See Section III.A,

13   supra. Consequently, the balance of equities tips decidedly in the Government’s favor.

14            C.           The public interest favors the Government.
15            The last stay criterion is the public interest. Where the parties dispute the lawfulness of
16
     government programs, this last criterion collapses into the merits. Washington v. Reno, 35 F.3d
17
     1093, 1103 (6th Cir. 1994). If the Court agrees with the Government on the merits, the public
18
     interest will tilt decidedly toward the Government: “It is in the public interest that federal courts
19
     of equity should exercise their discretionary power with proper regard for the rightful
20

21   independence of state governments in carrying out their domestic policy.” Burford v. Sun Oil

22   Co., 319 U.S. 315, 318 (1943). In public-injury cases, equitable relief that affects competing

23   public interests “has never been regarded as strictly a matter of right, even though irreparable
24   injury may otherwise result to the plaintiff” because courts also consider adverse effects on the
25
     public interest. Yakus v. United States, 321 U.S. 414, 440 (1944). This Court should not attempt
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     to set immigration policy for the Nation.
 1

 2                                             CONCLUSION

 3            This Court should deny the request for interim relief.

 4   Dated: March 5, 2019                              Respectfully submitted,

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